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 2
     BORIS KUKSO
 3   Trial Attorney, Tax Division
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 4   P.O. Box 683
     Washington, D.C. 20044
 5   202-353-1857 (v)
     202-307-0054 (f)
 6   Boris.Kukso@usdoj.gov

 7                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9                                           )
                                             )             Case No. 2:21-cv-1964-WBS-CKD
10                                           )
      UNITED STATES OF AMERICA,              )             NOTICE OF AND MOTION TO
11                                           )             DIRECT ENTRY OF DEFAULT
               Plaintiff,                    )
12                                           )             Date: Wednesday, March 2, 2022
               v.                            )             Time: 10:00 AM
13                                           )             Courtroom #24, 8th Floor
      EDWARD T. KENNEDY,                     )             Robert T. Matsui Courthouse
14                                           )             501 I Street, Sacramento, CA 95814
               Defendant.                    )             Judge: Hon. Carolyn K. Delaney
15    _______________________________________)

16                                            NOTICE OF MOTION

17          PLEASE TAKE NOTICE that on the date and time indicated above, plaintiff the United

18   States of America will bring a motion TO DIRECT ENTRY OF DEFAULT. The motion seeks a

19   court order directing the clerk to enter default against EDWARD T. KENNEDY for failure to

20   file an answer or otherwise defend this action.

21          Pursuant to General Order 631, the hearing will take place by video conferencing through

22   the Zoom application.

23          PLEASE TAKE NOTICE that, pursuant to Local Rule 230, any opposition to the

24   granting of the motion shall be in writing and shall be filed and served not less than fourteen (14)

25   days preceding the noticed (or continued) hearing date. No party will be entitled to be heard in
                                                       1
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 1   opposition to a motion at oral arguments if opposition to the motion has not been timely filed by

 2   that party. A failure to file a timely opposition may also be construed by the Court as a non-

 3   opposition to the motion.

 4

 5                               MOTION TO DIRECT ENTRY OF DEFAULT

 6          Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, the United States of

 7   America hereby requests the Court to direct the Clerk to enter default against Defendant

 8   EDWARD T. KENNEDY for failure to plead or otherwise defend against the complaint.

 9                                              Background

10          The United States filed this action to nullify a false lien Defendant filed against an IRS

11   official and to enjoin any further such false filings. ECF No.1. The summons and complaint were

12   personally served on Defendant on December 9, 2021, at his residence at 800 Court St., #223,

13   Reading, PA 19601. Kukso Decl. ¶ 2, ECF No. 5.

14          After being served, Defendant filed two “notices” with the court (ECF Nos. 6 and 8) and

15   mailed an “invoice” to the process server. Kukso Decl. ¶ 3, Ex. 1. Except for the “notices,”

16   Defendant has not communicated with the counsel for the United States, has not filed a

17   responsive pleading or a motion in response to the complaint, and has not otherwise

18   communicated an intention to defend this action. Kukso Decl. ¶ 4.

19          On January 12, 20221, the Court issued a Minute Order stating, in part, “[i]t appears that

20   defendant’s answer to the complaint was due on January 3, 2022… defendant’s only response

21   has been to file Notices that seem to challenge the court’s jurisdiction. (ECF Nos. [6], [8].) No

22   later than February 11, 2022, plaintiff SHALL either begin the process of seeking default

23   judgment, or advise the court how it otherwise intends to proceed with this action.” ECF No. 9.

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 1                                                Argument

 2          Obtaining a default judgment is a two-step process. Eitel v. McCool, 782 F.2d 1470, 1471

 3   (9th Cir. 1986). “When a party against whom a judgment for affirmative relief is sought has

 4   failed to plead or otherwise defend, and that failure is shown by affidavit or otherwise, the clerk

 5   must enter the party’s default.” Fed. R. Civ. P. 55(a). After default has been entered, the plaintiff

 6   may move the court for a default judgment. Id. 55(b)(2).

 7          Defendant was personally served with the summons and complaint on December 9, 2021,

 8   at Defendant’s residence at 800 Court St., #223, Reading, PA 19601. ECF No. 5.

 9          Under Rule 12(a)(1), Defendant had until January 3, 2022 to answer or file a motion

10   under Rule 12 in response to the complaint. Defendant acknowledged receiving the complaint as

11   he has filed two “notices” with the court (ECF Nos. 6 and 8) and mailed an “invoice” to the

12   process server (Ex. 1). Defendant, however, has not filed a responsive pleading or an appropriate

13   motion under Rule 12. Thus, the United States seeks a judicial determination that Defendant has

14   failed to plead “or otherwise defend” in this case, and a direction to the Clerk to enter default

15   consistent with Fed. R. Civ. P. 55(a). E.g., Direct Mail Specialists, Inc. v. Eclat Computerized

16   Techs., Inc., 840 F.2d 685 (9th Cir. 1988) (default is appropriate where there is no “clear purpose

17   to defend the suit.”) (citations omitted).

18          Defendant is not an infant or incompetent, nor is he a member of the U.S. armed services.

19   Kukso Decl. ¶ 5, Ex. 2. Therefore, the requested relief may be entered consistent with the

20   Service Members Civil Relief Act 50 U.S.C. App. §§ 501 et seq.

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 1          Based on Defendant’s failure to plead or otherwise defend, the United States requests

 2   that, pursuant to Fed. R. Civ. P. 55(a), the Court issue an order directing the Clerk to enter

 3   default against Defendant EDWARD T. KENNEDY.

 4   Dated: January 26, 2022.

 5
                                                           DAVID A. HUBBERT
 6                                                         Deputy Assistant Attorney General

 7                                                         /s/ Boris Kukso
                                                           BORIS KUKSO
 8                                                         Trial Attorney, Tax Division
                                                           U.S. Department of Justice
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 1
                                     CERTIFICATE OF SERVICE
 2
     I hereby certify that on this 26th day of January 2022, I electronically filed the foregoing
 3   document with the Clerk of Court using the CM/ECF system and, on the same date, caused the
     same document to be mailed by United States Postal Service to the following:
 4
     Edward Kennedy
 5   800 Court St., #223
     Reading, PA 19601
 6
                                                /s/ Boris Kukso
 7                                              BORIS KUKSO
                                                Trial Attorney
 8                                              United States Department of Justice, Tax Division

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